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                         UNITED STATES DISTRICT COURT
 1
                                   FOR THE
 2                     EASTERN DISTRICT OF PENNSYLVANIA
 3

 4   STEPHEN BEECHNOX,                       )
                                             )
 5                 Plaintiff                 )
 6
                                             ) Case No.:
           v.                                )
 7                                           ) COMPLAINT AND DEMAND FOR
     DIVERSIFIED CONSULTANTS,                ) JURY TRIAL
 8
     INC.,                                   )
 9                                           )
                   Defendant                 )
10

11
                                       COMPLAINT
12

13
           STEPHEN BEECHNOX (“Plaintiff”), by and through his attorneys,

14   KIMMEL & SILVERMAN, P.C., alleges the following against DIVERSIFIED
15
     CONSULTANTS, INC. (“Defendant”):
16
                                     INTRODUCTION
17

18         1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices

19   Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
20
                               JURISDICTION AND VENUE
21
           2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
22

23   which states that such actions may be brought and heard before “any appropriate
24   United States district court without regard to the amount in controversy,” and 28
25



                                              1

                                   PLAINTIFF’S COMPLAINT
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     U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
 1

 2   under the laws of the United States.
 3
           3.      Defendant has an office and conducts business in the Commonwealth
 4
     of Pennsylvania and as such, personal jurisdiction is established.
 5

 6
           4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

 7                                          PARTIES
 8
           5.      Plaintiff is a natural person residing in Bensalem, Pennsylvania.
 9
           6.      Plaintiff is a "consumer" pursuant to 15 U.S.C. § 1692a(3).
10

11         7.      Defendant is a debt collection company with its headquarters located

12   at 10550 Deerwood Park Boulevard, Suite 309, Jacksonville, Florida 32256.
13
           8.      Upon information and belief, Defendant is a corporation that provides
14
     call center, collections and debt purchase services to companies in the United
15

16   States.
17         9.      At all times material hereto, Defendant acted as a “debt collector”
18
     within the meaning of 15 U.S.C. § 1692(a)(6), and repeatedly contacted Plaintiff in
19
     its attempts to collect a “debt” as defined by 15 U.S.C. § 1692(a)(5) for another
20

21   person.
22
           10.     Defendant acted through its agents, employees, officers, members,
23
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
24

25
     representatives, and insurers.


                                                2

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                                 FACTUAL ALLEGATIONS
 1

 2         11.      Upon information and belief, Defendant collects, and attempts to
 3
     collect, debts incurred, or alleged to have been incurred, for personal, family, or
 4
     household purposes on behalf of creditors using the U.S. Mail, telephone and/or
 5

 6
     internet.

 7         12.      Upon information and belief, the alleged debt Defendant was seeking
 8
     to collect arose out of transactions that were related to a Comcast cable debt.
 9
           13.      Beginning in May 2018 and continuing through late June 2018,
10

11   Defendant repeatedly called Plaintiff on his cellular telephone in its attempts to

12   collect a debt.
13
           14.      Defendant made these calls from the following phone number: 215-
14
     238-7710, 215-238-7726, 215-238-7882, 215-238-8387, 215-238-8403, 215-238-
15

16   7897. The undersigned has since confirmed that this number belongs to
17   Defendant.
18
           15.      Shortly after call started, Plaintiff first told the Defendant to stop
19
     calling him.
20

21         16.      Defendant heard and acknowledged this request.
22
           17.      However, Defendant did not remove Plaintiff’s cellular telephone
23
     number from its database and continued to call Plaintiff in its attempts to collect
24

25
     this alleged debt.


                                                3

                                     PLAINTIFF’S COMPLAINT
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           18.   These repeated and continuous phone calls were aggravating and
 1

 2   annoying, especially after Plaintiff told Defendant to stop calling him.
 3
           19.    Once Defendant was aware that its calls were unwanted any further
 4
     calls could only have been for the purpose of harassing Plaintiff.
 5

 6

 7                           DEFENDANT VIOLATED THE
                       FAIR DEBT COLLECTION PRACTICES ACT
 8

 9                                        COUNT I
10
           20.    Defendant’s conduct, detailed in the preceding paragraphs, violated 15
11
     U.S.C. §§ 1692d and 1692d(5).
12

13
                  a.     Section 1692d of the FDCPA prohibits debt collectors from

14                       engaging in any conduct the natural consequence of which is to
15
                         harass, oppress, or abuse any person in connection with the
16
                         collection of a debt.
17

18                b.     Section 1692d(5) of the FDCPA prohibits debt collectors from

19                       causing a telephone to ring or engaging any person in telephone
20
                         conversation repeatedly or continuously with intent to annoy,
21
                         abuse, or harass any person at the called number.
22

23                c.     Here, Defendant violated §§ 1692d and 1692d(5) of the

24                       FDCPA when it called Plaintiff's cellular telephone repeatedly
25
                         and continued to call knowing its calls were unwanted.

                                                 4

                                    PLAINTIFF’S COMPLAINT
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 1

 2                                  PRAYER FOR RELIEF
 3
            WHEREFORE, Plaintiff, STEPHEN BEECHNOX, respectfully prays for a
 4
     judgment as follows:
 5

 6
            a.      All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A) and

 7          15 U.S.C. §1692k(a)(1),
 8
            b.      Statutory damages of $1,000.00 for the violation of the FDCPA
 9
            pursuant to 15 U.S.C. §1692k(a)(2)(A);
10

11          c.      All reasonable attorneys’ fees, witness fees, court costs and other

12          litigation costs incurred by Plaintiff pursuant to 15 U.S.C. §1693k(a)(3); and
13
            d.      Any other relief deemed appropriate by this Honorable Court.
14

15

16                                DEMAND FOR JURY TRIAL
17          PLEASE TAKE NOTICE that Plaintiff, STEPHEN BEECHNOX, demands
18
     a jury trial in this case.
19
                                             RESPECTFULLY SUBMITTED,
20

21   Date: 3/15/19                             By: /s/ Amy L. B. Ginsburg
                                                Amy L. B. Ginsburg, Esq.
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                                                Kimmel & Silverman, P.C.
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